          Case 1:19-cv-08639-ER Document 62 Filed 11/09/20 Page 1 of 1

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Chaya Gourarie, Esq.                                                     ______________________
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                                                               Plaintiff's request is granted. The pre-motion
                                                               conference is adjourned to December 2, 2020 at
                                                               11:30 am. The parties are directed to dial (877)
                                              November 9, 2020 411-9748 at that time and enter access code
VIA ECF                                                        3029857, followed by the pound (#) key. The
The Hon. Edgardo Ramos                                         Clerk of Court is respectfully directed to
United States District Court                                   terminate the motion. Doc. 61.
Thurgood Marshall U.S. Courthouse
40 Foley Square                                                   So ordered.
New York, New York 10007

       Re:     Joanna Pedroza v. Ralph Lauren Corp.
               No. 19-cv-08639 (ER)                                          11/9/2020

Dear Judge Ramos:

        We represent Plaintiff Joanna Pedroza (“Plaintiff”) in the above-referenced employment
action against Defendant Ralph Lauren Corp. (“Defendant”). Pursuant to this Court’s Individual
Practice Rules 1(E), we write now to respectfully request a two-week adjournment of the
November 10, 2020 pre-motion conference on Plaintiff’s request to file an amended complaint, to
assert claims under New Jersey law [Dkt. No. 57, 54]. Counsel for Defendant, Matthew Steinberg,
Esq., consents to Plaintiff’s request. Both parties are available for a pre-motion conference on
November 23 and 24, 2020, or on any subsequent date that is convenient for the Court.

        This is the Plaintiff’s second request for an adjournment of the pre-motion conference. The
prior request was granted on October 30, 2020. [Dkt. No. 59].

       Plaintiff is respectfully making this request because the parties have made significant
progress in their settlement discussions and would benefit from additional time to continue such
discussions before potentially commencing motion practice on Plaintiff’s proposed amended
complaint.

       Based on the foregoing, we respectfully request a two-week adjournment of the November
10, 2020 pre-motion conference. Both parties are available for a pre-motion conference on
November 23 and 24, 2020, or on any subsequent date that is convenient for the Court.

       We thank the Court for its attention to this matter.

                                              Respectfully submitted,

                                              ____________________
                                              Chaya M. Gourarie, Esq.
